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                                                                                                                         Clerk, U.S. District Court, ILCD



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\Jcdo'f \o\'()c.\-,, L\l~L.St\n-t                       c:?>t-~1'"1/)o-"),, V.




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                                                         2:16-cv-02108-HAB # 8                                   Page 2 of 14




                  Tu·e

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X'Ui..,o•.}              C,183Y

                 "Th-<!:.       d~~e,., c:J.,A,          N~ P.:.'b~......., ,          :.l       ·e:,.,,p\~-eJ         ... .:>   "'




D.,.,,",u~               J:\11...,e-....        . . . ~/Z3'1

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                              J-e-f"e,.de.,,f1        rJ~rs('     .s~-Jy              , I.>      'f!Y1?p/•y·...c:J

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                                         2:16-cv-02108-HAB # 8                   Page 3 of 14




~)      H<l.v-< 'fCN<       'c'('~"'\.   ~ o-rn.u i~s"'' h                   ;n -"'~h          or      +~o~rel         c..0v-r t    wh. 7<-

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co,...,plc.; ....+ ? "f.e..s
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 ·-;),...ly   ~I~ ,;] c J.S' / .     /11J1u:.t·       03., ;;l OJ~

w.~n~.s.s          lo      JJ.--e        Occ,wr-r--e,,.:-~;     No




4) Uet-e,,dc.-.\-          rJ"-'t"S-4t     14,.,, d      pv\.   f>kv•tiff        A~ F:·-t- Jc/;, R 5S:3c:?               t'nk    .S·eic-

~-cr1d(f->1\-          Nf>.. ~r.Hc. ....'f Eclwc-ro.J.>              L.t.m:;kr      -ti,~ ·£~rs~"'<:'/ Act'' , t>e-t~.... d<::,..,J.




AY>~             F.~1.;s           fi 5530G' cei..lol            b~       s~.....     bj

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                                                  2:16-cv-02108-HAB # 8                                   Page 5 of 14




Pl'!.j,,+.;ff        AYl-b.c,...)'       F.~ld.5 Rss3cg                               ce1/ ch:.<               A.r.cJ        ar,.sY;t>d            Pl~,.,+iff° fl,,~

                                                      Pl.i;.. ~, ff A-,...n.,.,,1 F-":-e id.s                                                              ~"''l ·h.:.-.
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~11 .




 .5e-c~o...>     M~d1'< .c.I         Nt>~ ;               c..;ii:J         C(1.-1<f hcl               LJyi..,.:;o.14/   fu,..,'..)h,-c.,,I.

1~) .A+~~,.,           Pl«,,,.,t•~ A-.~                            R ·elcLS        /P.S.:>3o;r                ...s').-i~c:J             4-.J        ·fv/c}          iXf~,...J<.ni-




 1_0 0-c~·Mcia..,\-         N.P·     /3n~~~...1         L!"Jv.u.-rtJJ          ·J..tc.>   Pi<.:;if..ff !fn-h..,.,,1            r-:~lt:i>       a     P.ss3oK                I

 ~-e~~nd-..,\.          NP- {)t"1Hc"1                  €"olw.i:<<!Xs)           w;//       lo..i<.      .d·     -h.e        c:.::._j<    fo,;.pl     c.ncJ           s~e         :..!'

'f£JJ (§c~~hff A,..~                     n.-lcl.s          1::/5 .>3eol?)           w~        Cl>"\       -lh<..r--c.   ~.... J..,.4           Nf>·        t3r,H ~7
'/E'Jwe.~d>            -1.,, I j     Pl.;.;" hff           A,.."'-1           Ff ..;al.; R SS 3c 'll'                   r         ~-f'f°<,.....J-...1- f'J f>- 13rd1--.,

 £ ciwG.rcJt.s)          w ; \1          ~d       \:>c:..<.t<.       ;"'     fouck         w;-4.          '1"'4 <f_J.:.i'>1J.i{!f-       .f/nltJ,i,.,,.1     hc-l olJ

~ 5>309          •    Pl.::~,.,+;~        An-n.-.,               h '-eiols    P.5>3o ~           /1~..,.n 1°>                 A         t'-tSf"i.u....       b-t<I'        4"C



°'"1.,..;."'')   "'\          a.II       fn,..,        t:k~cJ,,.y                 N? G<'1H~                     /i"cJVJ~t-oJ..S ·           ~+~...,.,1_...}.           NP-



                                                                                                                                                      c:..JI     Ol<r
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-~       \X~-c . . &,.n-\-         1'1My 1'1ilw

t~~e.lft,.         Ce<c    ufl.~   I    f'1-eQli«'-'    U-e~t--l--m~...f •         AsK;"'J        O~f~,..,.:,1.,,..,       /..        Hcry                 Hill<r   -.t-..

,',.t-ervie--.c1          r?t'     (iJq..,J.i ff        /fn·h·""t F,··'r:Jd..>           f.?5"5'3o2J                 t1C.'<:>c...I-     ~




•s)      -:)""hi      O';;l , ~cJS"        ~~,..d-.1--            N1..4r.S·e      'T:n.a.         .... ~
                                                                                               ~.:.         /"">-<      Cfki. .       4-ift:          rln-b..,..1     h dot.>

~S.53c2)                   Arn-. -bo<.\-.1:        G-~~d           II'. 00 e...,..,. .   J   bl.I\-        -h.d         VJ/!.$,         .::.f't--tr \)'('.'"'('nc.lc.. I-




5C-v.t         so
14) PL•.i,,J.,fF /4nhac;,, 7             Fielch        //.S:>"3CE            sl-P      c~plcint              a..bc.wf              c/h.-: -h.1'n7.J ; f'f.,.,-,,,J..;&

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17) De~-e,.,da...\-              \..Jurs~     Tt'nc.     'nc..d       .&\'t"-1     ""'°"""' be~ i~ w~ ~                                                Plc.i .;ihf1:

f't,,.·h.&-.         held s            R 5.5 302,;       b'-'J     _s;f~JJ       l).ef-e,,de"\.       Nv _,(; -r.,,~                       ~i-dn· J.            43iv-e
               1
                                                             2:16-cv-02108-HAB # 8                              Page 7 of 14




-:rndiff'<r~n<:<                            T,, A             Ser~o....>      M~d•1 <'"1 tJ-eel!JJ 1               1:.,,.,d     C<"1.ul            /1-ncl        Ufti.J >ucl

P1.m1~\.iM('"'1-




·tr-c"-\r»<.,.,f               \un             +.i       sh..1.\.-       Pl~\ ,,l-jff ,A,,,~1 A~lti.s                         (l.S53o2

; t-
.:icj P\t-ln"-~ff                   ~ h<l.c/.j                            P.5.s3oJS.          ~Q.\. ..fi.t-c ..fr-ed,.,.~,.,J                f)....,....,    D<+'<,...,1 ..._,J

Doc:.~ ·-re\\)()\ . Pl..:;,,+;.f(                                    ~y             T=:e1dJ     ~s.:>3og                ~lcJ          't>~~~4'7l                   DcH·vr



~ \. ol ;d,..,-1-             W<"T I<..       t)e~.en.Jo...\. ~c<.~c:.r \ o\bot.r                       4-o 1cJ       p 1.,, .d·i f'f      rfwh.<""/            .k-<1d1

~s-.s·3<S~              yw              ·+ -=.~-r     \/Ji.d         r    S<--"-<     'fev.   tl.~(l     -wt..,l. p 1.,i,,hf-f A,.in.."44y                        F i-ttidy




                                                                                                                                                                        .... ·I I     i·.,


~           ;""j..} U <


.Q3J        0--t.\~,..,dc,,,l Nf Gt-iH.:,..1                               !feJVJ<:rre.J.$       •..,.,oi       tV1Ad·-e       rl•l·t..-.           ....is~      a.       -Fi Q..11ri

-h-.r-ew                                            'be-:.                          -to   \~\L                     Pt ...; ,.,~ff
                                    0


                       ta..     \   1Hl<                      wi.,dc;.J                                 c:.\-                         tJ.r,.f,.,,.,,,..,,     .t=:-e / ol..>

P.5>Jo1?                      i~t- . \)~~.J0t1 \-                        f\J P g~H~                    caJw~ros                -.c1       N1.< r~~          lf"J , ct... ,          ,.,~-.1et

l o(J'V.:      c:.\.

 ~t ; He..)'                                                   ·tv ld
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 ~\I~          'fc...t   Pl-tj,.1-jf~          J4>i .Jt,..l!llt'f     {-;,,.ldS       (1.5:> :JOt'             r>:>c'{".e         ,Ar.J-i- J3:ar1c:

:;.4)     Pk;'...,,\"W PrrrtJ,emy F:·clch RG.S.30R                                        .J..1.J     /'J...r-.s-t:     f41.t~ -n.~ ..fl.~ A-r-1-: - f3.'o-i-1'c.
f'l')" Xe f\c:\.,+~~           "'"*--r           ,:(d~              p,5530'2          F'«"t       ..S•cJS •    Ptc:,,r~ff' An·~                       F.t"td.s        ~..s.s30.<r

-9-,\\         -+co\(      ..;-i..t'       f"l'>e...l(c.\           ~"A-..(5'C        -+he        rk< ,.,,,, c~.-~ U..;f-/ Me~i<<I                        l:Xp~,.,-,v.J.. o/.-el

,,o\-      t;.t-o?       wc..t.Jri~            j"e           {>\.,.~,.,t;ff A>---n.-1             F. t:>io/..s R SS3           0 ;g          <-nt h.."nj          d>.-

; i) Pl-t1...\.'~f"           ~ ......, F.~1dJ. Rs.G"-3~&                            -5t"d'(",J       -f-e-t-1 •..,j 'l..'-':ZH.,            L~fhh-o t'<:.d          e.,,,,d       h......,,';s

~ ...\.~l~h.S. Plt:~..,\.',ff/4-nh.""1 F!t:'lds ~Sf.:JC~                                               /"11!..J.;A:d         f'J,-<     .!.-i'Sl"~"'-·h'11...      u,.,1!       L,I·



 H~clh'ICl:.~-e. t)e-¥-t'\,..c.,f-                      -r.:11d        ~ ..S~d               !)~~.... ~           Ni..r.se i.; nd&.

d~       Defe...olCo11-4- Nu(-5< L :nol«.                                ~ld ~\c,.., ~.f~               /b.+h..-,'1 r:; f'id~             Q5SJ o 8          J      h.. JJr     f>/,,_~,, ~; '1'
;4.-i.;,,.,_, p::; elels R $"..s-:Jc!>                      Wc:;,j      /; .,;-1'7     AIJ"'-'~     ~ pr-4b~\.,i·<I\) · P.~fc,,.J.,,.. ~                 N'-'"5" L; nJ-.




A.+      t:.11

.;;)?)   MeeJ·\-.ne                    Ue\-e,.,d..,...~        L~N l.t..t/"'14.....        -hJj}        fllci ..      ~f,c    Anh-.-1 M<td.J                      RS..s.30~          -h.-.t-


 -h->>1\°'.?         \w;,c:        ·\-h e:\.      'na~~" .               \)~.\-e... ~\ LfN Td·I"'""                                   +otd     Plw.1 ... 1-;f'f    /4n.n.<.._,




 ':f\.         f>k . ,..'-~~ An ·~r                     ht-lttl.>        (J.S.5302

 2!) Pk\n~~~ /1rv.-O..&i1                             F.~1411.> gss3o~
                                                             2:16-cv-02108-HAB # 8                               Page 9 of 14




.i.11.     V, o 1d-to              ~~~ ,..\-'. ~('         A,...o.c,,,7      Fi--c1d.s     f?.5S3c~            ri 7,..;,..    A,,.,~,,c;J~,.,J..           Oel~he-rc.:.i-c

~Yiol~ ~~-cce ... <.-t               +o A                  5-e<;~.....:.      M-ec.>\·..: .. 1   l'J~iY,, ,;:,.,).           C.t-v<I       .4,-,d        U/lt.1S1Ae./


P~o·;.sh.,...,~..., \.


 3~         "!..Jy       It.   I     M@JS            o...r~,,,e;1.,,,,J.         f3r,Hc""'I         Eeilwe.'('us             (;~~          -1-b     Pi<:.~ ... ~~ff     A,.,#.""'1

                                               c:-elt d6of' •              f'l<!ln~~ff'     A.-rh,,..,. RC'1cl.s f?SS3o2                          +o/t:l      Def'..-,.,d...,.,J
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at;<;        ~ C°\.f\h ~ ~           f!?.fi.c,., '1

 3~ 1ht~e ~~                                 \o..\<t<                                                                                        .s+.1 1



dOct(' / .ft, S1Ve                           l'lc;.-.+.:.H       An+v.°"t         A~/d> RSS3 0'3.                  -h..e       S<1.,..,~      ..sh<t/'I">~

 '°?>:0 \).ef<..,da....\.             rJu1'.S-<            ,st~e       .\-o\d       ~lc;,...J..lf~ f4n~1 A.elcl~                       /1.S'S3o'2;            ikf""~J.
 Nurs~           .Stt"I<               -li>id         Pi c:: ... hfr jh..n.cv.1 P, rJ~s.                  fl.ss301?           'fC4A    ~~r               J.,~      .;,.,.-.!>

vJ~\o;,         (.N.s-<             'f<"-'      c.;...;•       ~~\-\-:"')        c~h~11'J         -else

 3{) Pl~.;,.4-iff                  An-h.""'1 6elds                   R5S3c3               Still     'bt-1115     ;ti    ..So "''"'c.,         p.:./,.,     ~lei        'DefA-iol..-.... .1-

L~N • ~~\5's'A.                    ~~'-e.           c:.'oov.'r      \'\\~      ;bS!.4-t' , Vt-~~"""~ lf'jl/·· 'K-r~ ~!-6. ft.:.~1<                         i-cld      Ph:.,'n~i.f~

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\::>I.\\     ~ \<c             ~kin V-\.(             An-h.a""'f                                                  ~~1~1" 5\ip

 ?>::i) ~\a\,.,\:,~~               Ari-t>.°""'1 A~id.9                      ~.S.30~              o\•~     ·\h~         ~c.       ·"-'•h-      \:>e~-end~\               r1~~~
                                 2:16-cv-02108-HAB # 8                       Page 10 of 14




  .S..er.ci..o Nedt'td /'leed /       i:;,..eJ     Cru~I          A-nd
                   '"<i.MeN
 3~J   '\)-e(en dc,.,t   \J.   GG-.\\~°/         C\o+-   c:i...    \--r1-;..io._ ..Shp      a ,., td       ..._       ~(' :~"""""'~
                                                                                                       '..)',.t{'t::•~ ,./
fun,   ~lc\"\-1.ff   Anh.a~       Fi e\ds        RS5.3 0 ~ - \~\\\n~                 ~~,,ei14..,J.          V. Cc..\lc:iwcy whe-+)




                                                                   f>.e.sp<,.S.k.IJy     S1..11orn 1.J.-J~cJ


                                                                               J(.   a~-n!:> ~
                                                  2:16-cv-02108-HAB # 8                                 Page 11 of 14




 f>k_,,,-t;Cf       A,,,..J?.c..y    .h.,-1d             R.S53<:!a            ~l~o          .!J'-'~"I    -e~<i.     Oe.f~,.,dr. ... t.s     :-n      -n.c7
 ~i,id              Cll.pe. <:. i~ .




Anh.c....,y         F i e JcJ..s        ~SS ~o·g             tlo+       ~~,..,_:}              -1-r-ed-!:t:i

i).$1001 0.:io              ~(.'".5~             ~ne:l~J.        Nc.~y           f'-1,11-cr      ~      ~         ~syc1-1.:.10':)1c.<J_, -e,..no-l.'o,,,..d



  h'<I~~           R 5 >"3<J2
3J .A     I 001   ciao




r-~1e}5      ~5.>3<' ~              ,..,.. s.     be;-..,    -1--f'-ec. N:J

"-fJ.Jt   /~1 oa() P,~c.~l'\S·~ t>-ef~,..c>c....t-                r-J{> F.ibi..:.n              ~       -h.~ f>S<y<.£.do9l~c.I ,,         -e""'of-1l'-"' <t.I




,:-_<Id;.         (l..S>.302         l"J(.j.     .J:x;,,,f   +r'<'cJ.ceJ

5) .JJ10o,, ooo o..~c.ln..>\ t)e.\~..,d..... t                        lf>'N       T~h">c.n          fu         ~ ~<:.ho\o°.)•~c.\1                   eP"oi.'i:n"-I


Qrd.      ~~~<.:4..1 ~;ji.M\j!..}                .su~+<!~n~c:;l          4-.S.      t....     '('-c:su\>r a~       -In~    P) clf'l._i ~~      .AJ,,.17-t'"""T

 PJ~ 1c:J>        {(5..> 3o2           l'l<.l-    .bt-;,.>     +r~d--e.J
                                                   ~-.e,.,dc. ...+
~) .15 JOc) oOa              Oj~\n~ \                •               rJ.ur.SR



h ~lei.;          R 5..$30 2            >-u+ ber7             4-r-ec..+cd

~ .J l~ 1 aet. o.~~;.-.~l 't).e~~ndc..-.\-                           N._.r..x;
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                                 IZSS'.3<::J 4'
                  Pi·el~.$    ,OM         J




A,,../J.~-1       Ff~ ,cJs     ~5..>:Jca      /J<-J.   b"( ,..,..,,   -J~c..+<.o1

~      .K Joo, aoo           ~5<:1....S~ ~~-((..de..,~            NL4t..X    A~-<I ~          .H.c   f>lS"fckl/o~,· cc.1J ~,..,eti''cr"'""I




h-eWJ.s.        fl.5>3DR

'tj J/       /O<.>; CCC




B)    .Ji Joo, ~o



;:;-..,~.1     ft.>":>3<>~


If) .JI ICXJ,    o<i D




~ J 75, oeo                   <=.:a-a   c..-sd    "-~Gt'»YJ. fk~~J.                 <'-'.,.-1-s-h'~ Br-4"no.-.      <,,,J    ~~~~).

". c. c:." W-1'-"'f
                                                   2:16-cv-02108-HAB # 8                                Page 13 of 14




'Uer-rnJ ....,.,J.      He~'{ Miller

t..A)5J Ooc                e<!.J!1;,           c:.-J          c..51cj,.,_s}    De-fenolcni         Poc~4""       T ei\bc}

NP F<.bi""'
'iJ j        50I 000            I! <:. (j,.      e.,..,j     <-f<-'";t >J-    0~.f'~.J _, .J.       f. f> rV l        .,.,_j- I"? ..:,n    ¢n   J


,5)     J) d)S I     O'"CIC)      t!: c..cl.t       c-,c)        C.j\?.t' ,.,s.r   \)e;~e,..&J .;,,J-    J\J~r.$.·e       L ,',.., ole.·    c,,o/    Of!.~~nd""'1J.


fVC.tt .H'    Dt::..n.:.

0      JI~.I         oc:£)      t>e~i..           <:..;-,J     ~c,;ns>-            D-c~o.l.,..,J         Nur~<             ...S~V<         c,.d     ~.er>d4-1 J.


tV'4f 5<       .S~>tal'f

7) JI         ~5,, OOG              le C\(I.,              ewid      c;;.1~1n>J.      ~f#..,.Jc,,J.       rJuo:e             fir17-el       ~e)     ~(''f!,..,dc ..J.




 /rn·h.a..t      P,·dol~         ~5S:loZ

  .::r~r'1     D-e,....,c.no !                '/<...S
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w:l1       br   .~;n;          ,), ·tS..c       nc<I             ·fwo     W-e(/C '   Ai-I     ..n.d-        w;/I       m< J<;~       l'l<;,,,J.Jfp

f4.nn-t         rrc1al~        f?,s-_s301!             h~e          Ae    K,-.......,kd/e   c.f        wi,.J'.;          701""-j'      <>M    '-J-

t:.11.

3)        /4 ·1-r;~·     \.S     f), ,·.}




\.\(),<     ~ver-       ~<:. ~          ~       \._ :-., '"'


leH<r

\VJ.,t'r-<~        f>lc.\ ... -1-if'P   /4-n.fA.,,.,.y         H-c/,.lf   f{'>.>Ju :r       ~,_tJ.Q.J               h.,4      ·h.o      c0wr-J.      a-; 11

apfO{ll\-        CD\..<n~ I         ~        -n..>.>           Cc.S"{




                                                                                                      ~~~fllk
                                                                                                  Flnh,~                r;'t:lols     P. s-s3c &'
                                                                                              fcYJ·l-·k~            Gcrr-.e~ l-111,...,.::I   C.e n f <.r




                                                                                                  p O· Gc.;,e        'i
                                                                                              ('.>~....,-~·\c_o(,    ~fl1'r)C,'.j      C./'7'-~
